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                              UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF CONNECTICUT
                                    BRIDGEPORT DIVISION

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                                                      x
                                                      :
In re:                                                :        Chapter 11
                                                      :
                               1
HO WAN KWOK, et al.,                                  :        Case No. 22-50073 (JAM)
                                                      :
                                 Debtors.             :        (Jointly Administered)
                                                      :
-----------------------------------------------------------
                                                      x
                                                      :
LUC A. DESPINS, CHAPTER 11                            :
TRUSTEE,                                              :
                                                      :        Adv. Proceeding No. 24-05162
                                 Plaintiff,           :
v.                                                    :
                                                      :
                                                      :
NARDELLO & CO.                                        :
                                                      :
                                 Defendant.           :
                                                      :
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                                                      x


                       STIPULATION EXTENDING TIME FOR DEFENDANT
                           TO ANSWER OR RESPOND TO COMPLAINT

         Plaintiff, Luc A. Despins, in his capacity as the chapter 11 trustee (the “Plaintiff”) and

defendant, Nardello & Co. (the “Defendant” and, together with the Plaintiff, the “Stipulating

Parties”), by and through their respective undersigned counsel, pursuant to the Court’s Order

Approving Procedures Applicable to Avoidance Claim Adversary Procedures [Main Case Docket




1
     The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
     Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever Holdings
     LLC (last four digits of tax identification number: 8202) and Genever Holdings Corporation. The mailing address
     for the Trustee, Genever Holdings LLC, and the Genever Holdings Corporation is Paul Hastings LLP, 200 Park
     Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho Wan Kwok (solely for purposes
     of notices and communications).


{85114578; 3; 63472-001}
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No. 2578], hereby stipulate and agree (the “Stipulation”) that the deadline by which the Defendant

may move, answer or otherwise respond to the complaint (Adv. Docket No. 1) (the “Complaint”)

filed in this adversary proceeding, is hereby extended for a period of sixty (60) days to and

including June 27, 2024 (the “Response Deadline”). The Response Deadline may be further

extended by agreement of the Stipulating Parties or otherwise stayed or set by an Order of the

Court.

         The Stipulating Parties reserve all rights and defenses each may have, and entry into this

Stipulation shall not impair or affect any such right or defense.

         This Stipulation may be executed by the Stipulating Parties in counterparts, each of which

when so signed shall be an original and shall together constitute one and the same instrument. A

signed facsimile, PDF or electronic copy of this Stipulation shall be deemed an original.

                [Remainder of Page is Intentionally Blank. Signature Page(s) to follow.]




                                                     2
{85114578; 3; 63472-001}
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                                                PLAINTIFF:
Dated: April 19, 2024                           LUC A. DESPINS
       New Haven, CT                            CHAPTER 11 TRUSTEE


                                                By: /s/ Patrick R. Linsey
                                                Patrick R. Linsey (ct29437)
                                                NEUBERT, PEPE & MONTEITH, P.C.
                                                195 Church Street, 13th Floor
                                                New Haven, Connecticut 06510
                                                (203) 781-2847
                                                plinsey@npmlaw.com
                                                Counsel for the Chapter 11 Trustee



                                               DEFENDANT:
                                               NARDELLO & CO.


                                               By: /s/ Henry P. Baer, Jr.

                                               Henry P. Baer, Jr.
                                               Finn Dixon & Herling LLP
                                               Six Landmark Square
                                               Stamford, CT 06901-2704
                                               (203) 325-5083
                                               hbaer@fdh.com
                                               Counsel for Nardello & Co.




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{85114578; 3; 63472-001}
